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 1   DAVID J. COHEN, ESQ.
     California Bar No. 145748
 2
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     San Francisco, CA 94104
 4   Telephone: (415) 398-3900
 5
     Attorneys for Defendant Duane A. Eddings
 6
                                     UNITED STATES DISTRICT COURT
 7                                  EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                      )      Case No. CR-09-0074-JAM-2
 9                                                  )
                      Plaintiff,                    )
10                                                  )
11   v.                                             )      STIPULATION TO CONTINUE
                                                    )      SENTENCING HEARING AND ORDER
12   DUANE ALLEN EDDINGS, ET. AL.,                  )      THEREON
                                                    )
13                    Defendant.                    )
14                                                  )

15
16           IT IS HEREBY STIPULATED by and between the parties that the sentencing hearing,
17
     currently set for October 27, 2015 at 9:15 a.m., be changed to January 26, 2016 at 9:15 a.m. It is the
18
     intention of the parties that, barring good cause, this date will serve as a date certain for the
19
20   sentencing hearing to take place, and no continuances are contemplated at this time.

21           The reason for the stipulation is as follows:
22           Mr. Eddings recently retained David J. Cohen, Esq., and Michael J. Pellegrini, Esq., of Bay
23
     Area Criminal Lawyers, PC, to represent him at his sentencing hearing in the place and stead of John
24
     Balazs, Esq., of the Law Office of John Balazs. Defense counsel requires a continuance of the
25
26   sentencing hearing to acquire and review Mr. Eddings file, in order to effectively represent Mr.

27   Stipulation to Continue Sentencing Hearing and [Proposed] Order Thereon
     U.S. v. Eddings, et. al.;
28   U.S.D.C. No. CR-09-0074-JAM-2                          1
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 1   Eddings at the sentencing hearing.
 2
 3
                                                Respectfully submitted,
 4
                                               BAY AREA CRIMINAL LAWYERS, PC
 5
 6   Dated: October 23, 2015               By: /s/David J. Cohen
                                              DAVID J. COHEN, ESQ.
 7
                                               Attorneys for Defendant Duane A. Eddings
 8
 9
10                                             BENJAMIN B. WAGNER, ESQ.
11                                             United States Attorney

12   Dated: October 23, 2015              By: /S/MICHAEL D. ANDERSON
                                              Michael D. Anderson
13                                            Assistant U.S. Attorney
14                                            Attorney for Plaintiff

15
16           IT IS SO ORDERED.
17
18
     Dated: 10/26/2015                         /s/ John A. Mendez
19                                             THE HONORABLE JOHN A. MENDEZ
20                                             UNITED STATES DISTRICT COURT JUDGE

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22
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24
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26
27   Stipulation to Continue Sentencing Hearing and [Proposed] Order Thereon
     U.S. v. Eddings, et. al.;
28   U.S.D.C. No. CR-09-0074-JAM-2                          2
